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                    UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF PENNSYLVANIA


JOHN FREDRICKS, Individually and For All
Others Similarly Situated,                 Case No. 2:21-cv-01504-WSS

                  Plaintiff,

            v.


CONSOL COAL RESOURCES, L.P., JAMES
A. BROCK, MARTHA A. WIEGAND,
MICHAEL L. GREENWOOD, DEBORAH J.
LACKOVIC, KURT R. SALVATORI, DANIEL
D. SANDMAN, and JEFFREY L. WALLACE,

                  Defendants.




          MEMORANDUM OF LAW IN SUPPORT OF THE MOTION
      OF JOHN FREDRICKS FOR APPOINTMENT AS LEAD PLAINTIFF,
       AND APPROVAL OF HIS SELECTION OF CO-LEAD COUNSEL
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                                        INTRODUCTION

       Plaintiff John Fredricks (“Plaintiff”) respectfully submits this Memorandum of Law in

support of his motion to: (i) appoint him Lead Plaintiff pursuant to the Private Securities Litigation

Reform Act (“PSLRA”), 15 U.S.C. § 78u-4(a)(3)(B); (ii) approve his selection of Monteverde &

Associates PC (“M&A”) and Kahn Swick & Foti, LLC (“KSF”) to serve as Co-Lead Counsel; and

(iii) grant such other and further relief as the Court may deem just and proper.

              RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

       This action arises out of the acquisition of CONSOL Coal Resources, L.P. (“CCR” or the

“Company”) by CONSOL Energy, Inc. (“CEIX”) (the “Merger”).

       Between November 19, 2020 and December 10, 2020, five substantially similar actions

challenging the Merger were filed in United States Federal Courts, including one by Plaintiff, and

between March 3, 2021 and May 14, 2021, each of these actions were voluntarily dismissed. 1 On

October 21, 2021, Plaintiff filed the above-captioned action (hereinafter the “Action”). The Action

is governed by the PSLRA; on December 2, 2021, Plaintiff and Defendants filed a joint stipulation

relating to the filing of an Amended Class Action Complaint if Plaintiff is appointed Lead Plaintiff

pursuant to the PSLRA. See 15 U.S.C.§ 78u-4(a)(1).




1
        These actions were: Beyer v. Consol Coal Resources LP, et al, 1:20-cv-9746 (S.D.N.Y.
Nov. 19, 2020) (voluntarily dismissed on March 3, 2021); Biesiadecki v. Consol Coal Resources
LP, et al, 1:20-cv-1611 (D. Del. Nov. 25, 2020) (voluntarily dismissed on April 14, 2021);
Ostalecki v. Consol Coal Resources LP, et al, 1:20-cv-10212 (S.D.N.Y. Dec. 4, 2020) (voluntarily
dismissed May 14, 2021); Ciccotelli v. Consol Coal Resources LP, et al, 1:20-cv-1664 (D. Del.
Dec. 7, 2020) (voluntarily dismissed April 14, 2021); Fredricks v. Consol Coal Resources LP, et
al, 1:20-cv-10449 (S.D.N.Y. Dec. 10, 2020) (voluntarily dismissed March 5, 2021).

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        On November 4, 2021, Plaintiff published the required PSLRA notice, thereby setting a

deadline of January 3, 2022 to seek appointment as lead plaintiff and the appointment of lead

counsel in the Action.

        Pursuant to that notice, Plaintiff now respectfully requests that the Court appoint him as

Lead Plaintiff and his counsel as Co-Lead Counsel pursuant to the PSLRA. Plaintiff should be

appointed as Lead Plaintiff because: (1) he has timely filed for appointment as such; (2) he has the

largest financial interest in this litigation; and (3) he meets the applicable requirements under Rule

23. Infra §§I.A-D. Finally, Plaintiff has retained experienced and competent counsel to represent

the Class. As the “most adequate plaintiff” under the PSLRA, Plaintiff’s selection of M&A and

KSF as Co-Lead Counsel should therefore be approved. Infra §II.

        For the foregoing reasons, and as set forth in further detail below, Plaintiff respectfully

requests that the Court enter an Order: (1) appointing him as Lead Plaintiff pursuant to the PSLRA;

(2) approving his selection of M&A and KSF as Co-Lead Counsel for the Class and (3) granting

such other and further relief as the Court may deem just and proper.

                                            ARGUMENT

  I.    PLAINTIFF SHOULD BE APPOINTED LEAD PLAINTIFF

        A. The PSLRA’s Provisions Concerning the Appointment of Lead Plaintiff

        The PSLRA governs the appointment of a lead plaintiff for “each private action arising

under [the Exchange Act] that is brought as a plaintiff class action pursuant to the Federal Rules

of Civil Procedure.” 15 U.S.C. §§ 78u-4(a)(1), 78u-4(a)(3)(B)(i). It provides that within 20 days

of the filing of the action, the plaintiff is required to publish notice in a widely circulated business-

oriented publication or wire service, informing class members of their right to move the Court,




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within sixty (60) days of the publication, for appointment as lead plaintiff. See generally Greebel

v. FTP Software, Inc., 939 F. Supp. 57, 58 (D. Mass. 1996).

       Under 15 U.S.C. § 78u-4(a)(3)(B)(i), the Court is then to consider any motion made by

class members and is to appoint as lead plaintiff the movant that the Court determines to be “most

capable of adequately representing the interests of class members.” Id. at 58-59. Further, the

PSLRA establishes a rebuttable presumption that the “most adequate plaintiff” is the person that:

       (aa)    has either filed the complaint or made a motion in response to a notice
               [published by a complainant];

       (bb)    in the determination of the court, has the largest financial interest in the
               relief sought by the class; and

       (cc)    otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil
               Procedure.

15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).

       Once it is determined who among the movants seeking appointment as lead plaintiff is the

presumptive lead plaintiff, the presumption can be rebutted only upon proof by a class member

that the presumptive lead plaintiff: “(aa) will not fairly and adequately protect the interests of the

class; or (bb) is subject to unique defenses that render such plaintiff incapable of adequately

representing the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II).

       B. The Published Notice Satisfies the PSLRA’s Requirements and Plaintiff’s
          Motion Is Timely and Procedurally Complete

       Pursuant to the PSLRA, the process of appointment of lead plaintiff begins with the notice

requirement. 15 U.S.C. §§ 78u-4(a)(1), 78u-4(3)(B)(i). The notice requirement consists of two

parts: (1) the first plaintiff to file must publish notice advising members of the putative plaintiff

class of the pending action in a widely circulated national business-oriented publication or wire




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service; and (2) members of the putative class have sixty days from the date of publication to move

the court to serve as lead plaintiff. 15 U.S.C. § 78u-4(a)(3)(A-B).

       On November 4, 2021, Plaintiff caused the PSLRA Notice to be published via

PRNewswire.2 See Ex. A to the Declaration of Juan Monteverde (“JEM Dec.”). The Notice

notified putative Class members of the pendency of the Action, the nature of the claims alleged,

and the putative Class definition. Id. The Notice also advised any Class member wishing to move

for lead plaintiff that they must move the Court no later than 60 days from the publication of the

Notice. Id. Thus, the Notice satisfied the PSLRA’s requirements. See 15 U.S.C. § 78u-

4(a)(3)(A)(i).

       In light of the fact that the original Notice was published on November 4, 2021, the deadline

for application to be lead plaintiff is therefore January 3, 2022. See Ex. A; FED. R. CIV. P. 6.

Plaintiff has therefore timely filed his motion prior to the expiration of the lead plaintiff filing

deadline. Moreover, Plaintiff has signed and submitted a certification with his Complaint (Rec.

Doc. 1). As reflected in that certification, Plaintiff certified that he owned units of CONSOL Coal

Resources LP prior to the consummation of the Merger, and Plaintiff has also confirmed his

willingness and ability to serve as Lead Plaintiff. (Rec. Doc. 1). Thus, Plaintiff has satisfied the

certification requirement set forth in 15 U.S.C. §§ 78u-4(a)(2)(A). The PSLRA’s procedural

requirements have therefore been satisfied.




2
       Publication by a national press release company like PRNewswire is an adequate means
for meeting the PSLRA statutory requirement that notice be published in a widely circulated
national business-oriented wire service. See, e.g., Campbell v. Transgenomic, Inc., No. 4:17-CV-
3021, 2017 U.S. Dist. LEXIS 216162, at *3 (D. Neb. Aug. 9, 2017) (considering publication in
PRNewswire to be sufficient); Firefighter’s Pension & Relief Fund of New Orleans v. Bulmahn,
No. 13-3935, 2013 U.S. Dist. LEXIS 11538, at *10 (E.D. La. Aug.15, 2013) (noting publication
via Globe Newswire sufficient).

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        C. Plaintiff Holds the Largest Known Financial Interest

        The PSLRA instructs the Court to adopt a rebuttable presumption that the “most adequate

plaintiff” for lead plaintiff purposes is the candidate with the largest financial interest in the relief

sought by the class. See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(bb). Although the PSLRA is silent as

to the methodology courts are to use in determining which movant has the largest financial interest

in the relief sought, in the merger and acquisition context, “the candidate with the largest potential

recovery would be the candidate who had bought the largest number of . . . shares.” Zucker v.

Zoran Corp., No. C 06-04843 WHA, 2006 U.S. Dist. LEXIS 93469, at *8 (N.D. Cal. Dec. 11,

2006); see also Livonia Emples. Ret. Sys. v. Talmer Bancorp, Inc., No. 16-cv-12229, 2016 U.S.

Dist. LEXIS 124417, at *5 (E.D. Mich. Sept. 14, 2016) (“the plaintiff with the largest number of

shares held is considered to have the largest financial interest”) (citing In re Bank of Am. Corp.

Sec., Derivative & ERISA Litig., 258 F.R.D. 260, 268 (S.D.N.Y. 2009)).

        Here, Plaintiff owned 11,000 CCR units before the announcement of the Merger, more

than any other known movant who has completed a certification. (Rec. Doc. 1). Accordingly,

Plaintiff presumptively has the largest financial interest in the relief sought. 3




3
        In the event Plaintiff, alone, moves to serve as lead plaintiff, he will, as a result,
presumptively have the largest financial interest and, therefore, should be found the presumptive
lead plaintiff. See Campbell 2017 U.S. Dist. LEXIS 216162 at *4 (“Campbell owns 800 shares of
Transgenomic stock and no other person or group has sought to serve as lead plaintiff. Therefore,
the Court finds Campbell has the largest financial interest in the relief sought.”) (citing Greebel
939 F. Supp. at 57, 64 (concluding that when “no other persons have sought to be appointed lead
plaintiff,” the movant has the largest financial interest in the relief sought by the class)); Siegall v.
Tibco Software, Inc., No. C 05-2146 SBA, 2006 U.S. Dist. LEXIS 26780, at *11 n.1 (N.D. Cal.
Feb. 24, 2006) (finding that, when only one person or group has moved to serve as lead plaintiff,
that person or group presumptively has the largest financial interest in the relief sought) (citing
Greebel, 939 F.Supp. at 64).
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       D. Plaintiff Meets Rule 23’s Typicality and Adequacy Requirements

       In addition to possessing the largest financial interest in the litigation, a lead plaintiff must

“otherwise satisf[y] the requirements of Rule 23 of the Federal Rules of Civil Procedure.” See 15

U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc). Courts have consistently held that at this stage, the Rule 23

considerations are limited to the questions of typicality and adequacy. See, e.g., In re Cendant

Corp. Litig., 264 F.3d 201, 263 (3d Cir. 2001) (“The two provisions of that Rule that are relevant

to [appointment of a lead plaintiff under the PSLRA] are 23(a)(3) and 23(a)(4). The former

requires that a party seeking to represent a class have ‘claims or defenses [that] are typical of the

claims or defenses of the class.’” The latter mandates that a representative party be able to ‘fairly

and adequately protect the interests of the class.’”). As detailed herein, Plaintiff easily satisfies

the typicality and adequacy requirements of Rule 23(a).

       Typicality is satisfied when the plaintiff’s claims arise from the same series of events and

are based on the same legal theories as the claims of all class members. A movant’s “claims are

‘typical’ if they are reasonably co-extensive with those of absent class members; they need not be

substantially identical.” Herrera v. LCS Fin. Servs. Corp., 274 F.R.D. 666, 678 (N.D. Cal. 2011)

(citing Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998)); see also In re Heritage

Bond Litig., MDL Case No. 02-ML-1475 DT, 2004 U.S. Dist. LEXIS 15386, at *25 (C.D. Cal.

July 12, 2004) (“Courts have held that if the claims of the named plaintiffs and putative class

members involve the same conduct by the defendant, typicality is established regardless of the

factual differences.”) (citing Krell v. Prudential Ins. Co. of Am. (In re Prudential Ins. Co. Am.

Sales Practice Litig. Agent Actions), 148 F.3d 282, 302-03 (3d Cir. 1998), cert. denied, 525 U.S.

1114 (1999); Barnes v. Am. Tobacco Co., 161 F.3d 127, 141 (3d Cir. 1998)).




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        With respect to adequacy, Rule 23(a)(4) requires that the representative party will “fairly

and adequately protect the interests of the class.” F ED. R. CIV. P. 23(a)(4). Adequate representation

will be found if able and experienced counsel represent the movant, the movant has no fundamental

conflicts of interest with the class as a whole, and the action is not likely collusive. See In re

Schering Plough Corp. ERISA Litig., 589 F.3d 585, 602 (3d Cir. 2009) (“The adequacy inquiry

‘has two components designed to ensure that absentees’ interests are fully pursued.’ First, the

adequacy inquiry ‘tests the qualifications of the counsel to represent the class.’ . . . The second

component of the adequacy inquiry seeks ‘to uncover conflicts of interest between named parties

and the class they seek to represent.’”) (internal citations omitted); In re Dynegy, Inc. Secs. Litig.,

226 F.R.D. 263, 269 (S.D. Tex. 2004) (“The adequacy requirement [also] mandates an inquiry into

[] the zeal and competence of the representative’s counsel…”) (citing Berger v. Compaq Computer

Corp., 257 F.3d 475, 479 (5th Cir. 2001)); Rattray v. Woodbury County, 253 F.R.D. 444, 456 (N.D.

Iowa 2008) (noting that litigant’s lack of zeal to represent a class undermines their adequacy).

        Here, Plaintiff easily satisfies the typicality and adequacy requirements of Rule 23.

Defendants are alleged to have solicited the shareholders’ vote in support of the Merger with the

same materially false and/or misleading proxy statement that caused the same harm to Plaintiff

and all those similarly situated. In addition, Plaintiff is not subject to any unique defenses and no

evidence exists of any conflict between his interests and those of the other putative class members.

Finally, Plaintiff has expressed an ability and willingness to prosecute this action by filing a

complaint and/or requisite certification and retaining qualified counsel experienced in litigating

actions of this nature.

        What is more, based upon representations in Plaintiff’s certification, his interests are

perfectly aligned with – and by no means antagonistic to – the interests of the Class. See In re



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Century Aluminum Co. Sec. Litig., No. C 09-1001 SI, 2009 U.S. Dist. LEXIS 81205, at *14-16

(N.D. Cal. Sept. 8, 2009) (movant’s certification evidenced adequacy to serve as lead plaintiff);

Niederklein v. PCS Edventures!.com, Inc., No. 1:10-cv-00479-EJL-CWD, 2011 U.S. Dist. LEXIS

18247, at *33-35 (D. Idaho Feb. 24, 2011) (same). Indeed, Plaintiff has demonstrated his ability

and zeal to prosecute the action: he (1) filed suit, (2) engaged in discussions with Defendants

counsel and the Court, which ultimately lead to a stipulation concerning the filing of an Amended

Class Action Complaint and related dispositive motion briefing schedule, and (3) satisfied the

PSLRA’s procedural requirements, including by disseminating a PSLRA-compliant notice and/or

timely signing and submitting a certification pursuant to 15 U.S.C. § 78u-4(a)(2), which identified

all of his relevant CCR trades during the Class Period.

       Finally, Plaintiff has also selected and retained highly competent counsel experienced in

litigating actions of this nature to litigate the claims on behalf of himself and the Class. As

explained below, M&A and KSF are highly regarded for their experience, knowledge, and ability

to conduct complex shareholder class action litigation. Thus, Plaintiff has made a prima facie

showing that he satisfies Rule 23’s typicality and adequacy requirements, and he should therefore

be appointed Lead Plaintiff.


II.    THE COURT SHOULD APPROVE PLAINTIFF’S SELECTION OF M&A AND
       KSF AS CO-LEAD COUNSEL

       The PSLRA vests lead plaintiffs with the authority to select and retain lead counsel, subject

to court approval. 15 U.S.C. §78u-4(a)(3)(B)(v). Courts have refrained from disturbing lead

plaintiffs’ choice of counsel unless it is necessary to “protect the interests of the class.” In re

Lucent Techs. Sec. Litig., 194 F.R.D. 137, 155 (D.N.J. 2000) (citing Conference Report on

Securities Litigation Reform, H.R. Rep. No. 369, 104th Congress, 1st Sess. 31, reprinted in 1995



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U.S.C.C.A.N. 679, 685); In re Nortel Networks Corp., No. 01-CV-1855 (RMB), 2002 U.S. Dist.

LEXIS 1633, at *2 (S.D.N.Y. Feb. 4, 2002) (same).

       Here, Plaintiff has selected M&A and KSF to be Co-Lead Counsel for the Class. As

reflected in its firm resume, M&A possesses extensive experience litigating complex class actions

on behalf of plaintiffs, including securities and merger and acquisition class actions. See Ex. B to

JEM Dec. (M&A Firm Resume). M&A is recognized as a preeminent securities firm listed in the

Top 50 in the 2018, 2019 and 2020 ISS Securities Class Action Services Report. Just this year,

M&A obtained a $17.4 million settlement in In re Envision Healthcare Corp. and $2.6 million for

Jaguar Animal shareholders. Moreover, in the last month, Monteverde secured $2.4 million cash

settlements for Papa Murphy’s shareholders and $10 million for Education Realty shareholders.

M&A also recovered common funds arising from merger litigation involving fiduciary duty

violations for the shareholders in US Geothermal ($6.5 million together with KSF), Hansen

Medical ($7.5 million) and ClubCorp ($5 million). Further, in 2018, M&A, along with KSF,

obtained court approval of a $17.5 million settlement in connection with the sale of American

Capital Ltd. in Maryland State Court. M&A also changed the law in the Ninth Circuit and lowered

the standard of liability under Section 14(e) of the Exchange Act to better protect shareholders.

Varjabedian v. Emulex Corp., 888 F.3d 399 (9th Cir. 2018).

       Notably, Mr. Monteverde, who leads the legal team at M&A, has been recognized by Super

Lawyers as a Rising Star in Securities Litigation in 2013 and 2017-2019, an award given to less

than 2.5% of attorneys in a particular field. Mr. Monteverde has also been selected by Martindale-

Hubbell as a 2017-2021 Top Rated Lawyer.

       As its firm resume likewise demonstrates, KSF is more than qualified to work as Co-Lead

Counsel to prosecute the claims of the Class. With lawyers in Louisiana, New York, New Jersey,



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and California dedicated to the practice of class action and individual investor securities and

corporate governance litigation, KSF is one of the nation’s premier boutique securities litigation

law firms. KSF has represented stockholders as lead or co-lead counsel in numerous class and

derivative litigations, many of which have resulted in substantial recoveries on behalf of

stockholders, amounting to hundreds of millions of dollars. See Ex. C to JEM Dec. (KSF Firm

Resume).

       Notably, KSF has served as lead, co-lead, or executive committee counsel in numerous

other successfully resolved merger and acquisition cases. 4 In February 2018 – along with its

proposed Co-Lead Counsel in this case – M&A, KSF obtained a $17.5 million settlement from the

board members and officers of American Capital Ltd. (“American Capital”) and Elliott

Management Corporation (an activist minority shareholder in American Capital) (“Elliott”) in

connection with the June 2016 sale of American Capital to Ares Capital Corporation, in so doing

defeating a motion to dismiss against Elliott and obtaining an unprecedented ruling that Elliott

may be considered a controller and subject to entire fairness review at trial. In re Am. Capital

Shareholder Litig., Case No. 422598-V (Montgomery Cir. Ct., MD). More recently, in March




4
        See, e.g., In re Adams Golf Shareholder Litig., No. 7354-VCL (Del. Ch. 2012); In re
Medtox Scientific, Inc. Shareholders Litig., Court File No. 62-CY-125118 (Minn. 2012); In re
EnergySolutions, Inc. Shareholder Litig., Consol. C.A. 8203-YCG (Del. Ch. 2013) (co-lead
counsel, class action involving claims for breach of fiduciary duties to shareholders relating to a
proposed merger of nuclear energy related companies worth $1.1 billion ($375 million in proposed
shareholder consideration), where there was a $0.40 price increase, which increased the
consideration to shareholders by more than 10%, or approximately $38 million, and over 20 pages
of additional disclosures to proxy statement relating to process and pricing claims); and Hill v.
Cohen, et al. (Summit Fin’l Servs. Grp., Inc.), 2013 CA 017640 (15th Jud. Cir. Ct., Fla.) (co-lead
counsel, class action for breach of fiduciary duties to shareholders relating to a proposed merger
of a financial services company, where contingent and delayed aspects of the proposed merger
consideration, worth several million dollars, were accelerated and paid to shareholders ahead of
schedule and settlement involved several pages of additional disclosures were made to the proxy
statement).
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2020, after litigating the matter to the eve of trial, KSF and M&A obtained a $6.5 million

settlement recovery for former U.S. Geothermal Inc. (“U.S. Geo”) shareholders in connection with

U.S. Geo’s merger with Ormat Technologies, Inc; this recovery represented a 7.7% premium to

the adjusted enterprise value of U.S. Geo in the buyout.

          KSF also served as special counsel to the lead plaintiff in The Erica P. John Fund, Inc. v.

Halliburton Company, et al., No. 3:02-cv-1152-M (N.D. Tex.), which settled for $100 million.

Prior to settlement, the Halliburton case itself had twice been to the Unites States Supreme Court.

In the first instance, plaintiffs won 9-0. In the second instance, the Halliburton defendants

challenged the “fraud on the market theory,” the fundamental theory on which all class action

securities litigation rests. Despite the Halliburton defendants’ protestations, the Supreme Court

sided with the plaintiffs and upheld that theory. As the aforementioned cases demonstrate, KSF

has the requisite experience and knowledge in litigating complex shareholder cases.

          By virtue of their extensive experience litigating breach of fiduciary duty and securities

class action cases in the context of corporate transactions like the Merger, the attorneys at M&A

and KSF possess thorough knowledge of the applicable substantive law at issue as well as the

procedural requirements of this Court, and accordingly, M&A and KSF are well qualified to

represent the Class, and Plaintiff therefore requests that the Court approve his selection of M&A

and KSF as Co-Lead Counsel.

                                           CONCLUSION

          For the foregoing reasons, Plaintiff respectfully requests that the Court: (1) appoint him

Lead Plaintiff pursuant to the PSLRA; (2) approve his selection of M&A and KSF as Co-Lead

Counsel for the Class; and (3) grant such other and further relief as the Court may deem just and

proper.



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Dated: January 3, 2022                    Respectfully Submitted,

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